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EXHIBIT "A"

 

 

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_ Fcb[gag,;.ZO, 20`
DATE
Fecha '

    

tadafl`erriiorio U.S.

PROPERTY ADDRESS: 125 \i'i|ia Cnribe i a S 1 J c e to Ricn 00725
Direccion de la Propiedad:

 

 

1. BORROWER=S PROM]SE TO PAY

In return for a loan that I have received, l promise to pay U.S. §235,850.00 (this amount is called
APrincipal@), plus interest, to the order of the Lender. The Lender is EOPULAR MORTGAGE, INC. I will make
all payments under this Note in the form of cash, check or money order.

I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer
and who is entitled to receive payments under this Note is called the ANote Holder.@

1. "'» \ PROMESA DEL DFUDOR DE PAGAR

A c_ambio de un pre'stamo que he recibido, prometo pagar U.S. § ___ (esra camidad .re
llamar¢i APr"incipal @), ma's inlereses ala arden del Prestador. El Preslador es QOEULAR MOR TGA GE, INC Hare' rodos los
pages baja este Pagaré en efeciivo, con cheque 0 giro.

En!iendo que el Prestador puede rraspasar este Pagaré. Se llamara' el ATenedor del Pagaré@ al Pres!ador y a
cualquiera a quien se !raspase este Pagaré y tenga derecho a recibir pages bajo el mismo.

21 INTEREST -_
. interest will be charged on unpaid principal until the full amount of Principal has been paid. l will pay
interest at a yearly rate of ?.125% -

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in
Section 6(B) of this Note.

2. INTERESES

Se cargardn interese`s sobre el principal adeudado, hasla que se salde la suma total del Principa]. Pagaré intereses a _
la lasa anual de

La ta.'m de inrerés impuesta en esta Seccién 2 es la tasa que pagare' tanto antefs_como_desp,ués de c_gglquier
incumplr'mienro descrira en la Seccio'n 6(B) de este Pagaré.
l

' _ l PA GA RE
31 PAYMENTS

(A),'i , Time and Place of Payments

I.will pay principal and interest by making a payment every month. _ .

l\\'ill make my monthly payments on the ® day of each month, beginning on Agril, 2010. I will make
these payments every month until l have paid all of the principal and interest and any other charges described below
that l may owe under this,Note. Each monthly payment will be applied as of its scheduled due date and will be

applied to_ interest before Principal. If on March lst 2040 I still owe amounts under this Note, I will pay
those amounts in full on that date, which is called the AMaturity Date.@

I will make monthly payments at POPULAR M(_]RT§§AGE, IN(‘=l, ALTAM!RA CENTER, or at a
different place if required by the Note Holder.

 

 

3. PAG'OS

(A) Tiempoy L.ugar de las Pagos
Pn_garé el principal y los inrercse.s hacienda un pago cada mes.
Haré wis pages mensuaie.r el did __ de cada me.\', commands en _-»»»-». Hnré estes pages
cada met lrasra gr:e han pagado rode ai principal y los imere.ra.r, y cuttiesq:riera aims cargos aqui e.s'rul:lecicio.r
qua pneda adeaer baja erie Pagaré. Cada page mensum' .re apiicarri conforms rufeci.»a de vencimiemo, y ser-d
aplfcdc!o a irrrere.res ames qua al Pr£ncirml. Si a min adarrrlo sumner baja erie
Pagaré, prigaré diclms simms en sw faialidrrd en csafr.'clm, lrJ c¢ral se llamarri AFecha de Vencimiemo@.

_ ‘ _ Haré mis pages mcnsl:alcs en LQPULAR MORTGAGE. [NC_. AI_.TAM]RA CENTER. 0 en un lugar

' distii)lto si in requiere el Tenedor del Pagaré.

 

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(B) Amount of Monthly I’ayments
My monthly payments will be in the amount of U.S. § l,SSS.Q'l

. (B) Cantldad de los Pagos Mensuules
.`, Mis pages mensuales _ser¢in per la canlidad de US. § _

4. : BORROWER=S RIGHT TO PREPAY ,-

I have the right to make payments of Principai at any time before they are due, A payment of
Principa.l only is known as a APrepayment.@ When l make a Prepayment, I will tell the Note Holder in
writing that l am doing so. I may not designate a payment as a Prepayment if I have not made all the
monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge, The
Note Holder will use my Prepayments to reduce the amount of Principal that I owe under this Note.
However, the Note Holder may apply my Prepayment to the accrued and unpaid interest on the
Prepayment amount, before applying my Prepayment to reduce the Principal amount of the Note. If I
make a partial Prepayment, there will be no changes in the due date or in the amount of my monthly
payment unless the Note Holder agrees in writing to those changes.

4. EL DEREC_'HO DEL DEUDOR A PA GAR ANTICIPADO

Tengo el de'recho de hacer pages al Principal en cualquier momenlo ames de que venzan. Un page al
Princlpal selamente se cenoce come un APago Amiclpado @. Cuando haga un Pago Anticipade, le diré al
Teneder del Pagaré per escrito que lo esroy haciende. Ne puedo identifcar un page cemo Pago Anticipado si no
esroy al dt'a en mls pages mensuales baja el Pagaré.

Podré hacei' un Pago Anticlpaa'e complete o Page.r Autt`cipados parcialas sin pager un cargo per Poge
Anricrpado. El Tenedor del Pagaré usara' mls Pages Antic:pac!espnra reduclr el balance de Principal que adeude
bqje"este Pagaré. Ne ebslanle, el Tenedor del Pagare’ podrd aplicar ml Pago Amicipado al page de lnrereses
acturiulaclos vencide.r ames de oplic'ar ml Page Amicrpado para redrrcir la suma Prr`ncipal del Pagaré. Si hago un
Pegl) Amict])ndopa'rclal. no heard cnrrtblotr en lofcclrcr de venclmt`ento o en la atlantic de mi page mensual, a
menos que el Tenedor del Pctgrzre‘ acuerde per escrite dishes eambios. ' `

5. LOAN CHARGES _

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted
so that the interest or other loan charges collected or to be collected in connection with this loan exceed
the permitted limits, thcn: (a) any such loan charge shall be reduced by the amount necessary to reduce
the charge to the permitted limit; and (b) any sums already collected from me which exceeded permitted
limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal I owe under this Note or by making a direct payment to me. If a refund reduces the Principai,
the reduction will be treated as a partial Prepayment

5. cARGos DEL PREsTAMo _

Si una ley que aplique a esle pre's!'amo y que jt`je un mdximo a los cargos impueslos es interprelada en
forma final al efecte que los lntereses u orros carges cebrades o per ser cebrades a tenor con este préstame
excediesen los lt’mires permilides, enronces (a) cualquier tal cargo se ajustara' per la canlidad necesarla para
redueir el cargo al llmire pe`rmirido,' y (b)'me sera' reembolsada cualquier suma ya pagada`por mi que exeeda los
limi!espermilidetr. El F'enedor del Pagaré perini escoger entre aplr‘cnr este re 'mbolso para reclucir el Prt‘nctpal
que_r'icleude baja este li'ag¢rrél o hacermc un page dirccio, .S`i tm reeml:e.-'so reduce cl principal el reembolso se
tralard come un Page An!icipade parcial.

6. . BORROWER=S FAILURE TO PAY AS REQUIRED

(A) Lat_e Charge for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of
FIFTEEN 1151 calendar days after the date it is due, I will pay a late charge to the Note Holder. The
amount of the charge will be FlVl;l PERCENT fS°/n} of my overdue payment of principal and interest I
will pay this late charge promptly but only once on each late payment.

6. !DVCLWPLWIENT 0 DEL DEUDOR DE PAGAR SEG[lN REQUEIUDO

(A) Carges per Demora par Pagos Vencldos

Sl' el Tenedor del Pagare' no ha recibt'do la cantla'ad total de cualquier page mensual pasados QUINCE
f1_5_)_ dias calendarie de sufecha de vencirnien!e, le pagare' un cargo per demera. El cargo sent CINCO

PO§CIE NT 0 [5 B’£l del page vencido de principal e inlereses. Pagaré este cargo per demera promamente, pero
solamente una vez per cada page tardt'e. '

 

 

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(B) Default
If I do not pay the full amount of each monthly payment on the date it is due, l will be in default

(B) Im:umplimienlo
v Incurriré en incumplimien!o si ne page la cantidad total de cada page )nensual a la fecha de ru
vencimiento.
i_ = (C) Notice of Default l 4
If I am in default, the Note Holder may send me a written notice telling me that if l do not pay the
overdue amount by a certain date, the Note Holder may require me to pay immediately the full amount of
Principal which has not been paid and all t_he interest that I owe on that amount That date must be af
least thirty (30) days after the date on which the notice is mailed t_o me or delivered by other means.

(C) Aw'se de Im:umplimiente n

Si incurre en incu)nplimienre, el Tenedor del Pagare' pedrd enviarme avise escrile.di_ciéndome que si ne
page la canlidad vencida para sierra fecha, pedrd requerirme saldo inmediato de la suma total del Principal que
ne ha side pagado, mds ledos los intereses que adeude sobre esta suma. Esajecha riene _que ser per lo menes
treinta (30) dias después de la fmha en que me sea enviado el avise per eerree, o entregade per cualquier etre
media

(D) No'Waiver by Note Holder

Even if, at a time when I am in default, the Note Holder does not require me to pay immediately
in full as described above, the Note Holder will still have the right to do so if I a`m in default at a later
time. _

(D) Ne Renuncl'a per el Tenedor del .Pagaré

Aun cuande a la fmha en que incurro en incumplimiente el Teneder del Pagaré ne me requiera que
pogue la ie.foiidad immed:`oramenre, segxbr expre.rado ameriormeme. el Teneder del Pagare' tendra' derecho a
liacerlo si wrelvo a irrcarrir err iricuiiipiiniienio en rra_,"r`:chapo.':ierior. ` '

(E) Payment of Note Holder Costs and Expenses _

lf the Note Holder has notified me thatl am required to pay immediately in -full as described
above, or the Note Holder seeks judicial collection or collection in a bankruptcy pr_oceeding, the Note
Holder shall be entitled to collect its costs and expenses to enforce this Note (including, but not limited
to, attomeys= fees), which are fixed at the agreed and liquidated amount of ten percent (10%) of the
original Principal amount, ,

_ (E) Page de Castas y Ga.rlos del Teneder del Pagaré ' ’

.S`r' ei Tenedar del Pagaré me ira noryicado que range la obligacidn de pager la reialidad i'mnediaramente,
seg:hi .s"e estabiece arrierierineme, o el Tenedor del Pagare' radie¢r cobra judicial o coer en ua precedimienro de
qrriebra. el Teaeder del Pagaré rendra dereello a cobrar .m.s~ coates y games para lracer valer esle charé
(incluyende, p`ere sin limirarse a, henerarios de abegade), los cuales se jijan en la suma paclada y qu uida de diez
per ciente (10%) de la lsuma Principal original.

7. , GIVING OF NOTICES _

, Unless applicable law requires al different metliod, any notice that must be given to me under this
Note will be given by delivering it or by mailing it by first class mail to me at the Properly Address _
above or at a different address if I give the Note Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or
by mailing it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a
different address if I am given a notice of that different address

7. NoTIFICACIéN
' A menos quc la ley aplicable requiera oiro rriéiedo, erralquier avi.ro que se me delia der l:a,io csra Pegaré
se hard enrregdndome o en vicinciome per correa de primcra clase, a ia direccidn de la Propiedad arriba indicada
o a ana direccidn di,feren:e, si le notified per cscri.'o arm direccidn di,li:reme al ler:edor del Pagaré.

Cuelquier aatyicacidn que debra dar al Tenedor del Pagaré. lo hare entregcindala'o envirindela per

corrco de prirriera class a irs direcci¢in indicada en la .S'eccidn Ires (a) [3(a)], 0 a una direccien disrinta que me
haya notificade el Tenedor del Pagaré. '

8. ' OBLIGATIONS OF PERSONS UNDER THIS NOTE _
If more than one person signs this Note, each person is fully and personally obligated to keep all
of the promises made in this Note, including the promise to pay the full amount owed. Any person who

 

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10.

proreecibnes dada.r al Tenedor del Pngaré begin esre Pagaré. ana Hn)arer:n, E.rcrimra de Fidcicamisa, o Escrinrra de
Gr.rranria Cola.'eral fla Aflt]u_oreca@), de erta niismofecha, praiege al ?`enedar del Pagare' de posibles pérrlidas que
puedan re.rnlfar si no sample con las promesas que nrng en esre Pagoré. Esa Hipoteea describe cd.rna y bq,l'o que'
condiciones pnedo ser i~er,nrericio apagar inmediarainenie el total de rodas ias simms que adeade liajo esle Pagaré.
Algunas de esas condiciones'se describen a conlinuacio'n.'

` Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)

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is a guarantor, surety, or endorser of this Note is also obligated to do these things. Any person who takes `
over these obligations, including the obligations of a guarantor, surety, or endorser of this Note, is also
obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights under

this Note against each person individually or against all of us together. This means ihat any one of us

may be required to pay all of the amounts owed under this Note.

8. OBLIGA C_IONES DE LAS PERSONAS BAJO ESTE PA GARE

,l Si mds de una persona jirma esre Pagaré, cada persona queda plenamenle y personalmenre obligada a
cumplir todas las obligaciones conlenidas en esle Pagare', incluyendo 1a promesa de pagar la suma total _
ade`:tdada. Cualquier persona que sea garanrizadora, jiadora, 0 endosanre de esle Pagare' rambie'n queda
obligaer de esa manera. Cualquier persona que asuma estes obligaciones, incluyendo las obligaciones de un
garamizador, fiador, o endosante de este Pagaré, quedara' lambie'n obligada a eumplir iodas las obligaciones
contem'das en este Pagare'. El Tenedor del Pagaré padr¢i hacer valer sus derechos bajo esle Pagaré contra cada
persona individual)nenre, 0 contra todas nosorros conjumamente. Esta signified que cualquiera de nosorros podrd
ser requerido a pagar todas las sumas adeudadas bajo este Pagare'.

9. WAIVERS .

l and any other person who has obligations under this Note waive the rights of Presentment and-
Notice of Dishono'r. APresentment@ means the right to require the Note Holder to demand payment of
amounts due. ANotice of Dishonor@ m_eans the right to require the Note Holder to give notice to other
persons obligated to pay the Note that amounts due have not been paid,

,, .
9. . RENUNCMS _ _

Yo y rodo ot_ra persona obligada baja este Pagaré renunciamos a la Presemacion y al Aviso de
incumplimienlo. APre.rentacién@ significa el derecho a requerir q_ue el Tenedor del Pogaré reclame pago de
surnas vencidas. AAviso de Incumplimienlo@ significa el derecho a requerir que el Tenedo_r del Pagaré notg`/ique a
orras personas obli'garias a pagar el Pngaré. que no se han pagado las sumas adeudadas.

10._.,-_' UNIFORM' SECURED NOTE

l;. . This Note is a uniform instrument with limited variations in some jurisdictions ln addition to the
protections given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the
ASecurity bist:rument@), dated the same date as this Note, protects the Note Holder from.possible losses
which might result if l do not keep the promises which I make in this Note. That Security Instrument
describes how and under what conditions l may be required to make immediate payment in full of all
amounts I owe under this Note. Some of those conditions are described as follows:

l Transfer of the Property or a Benelicial Interest in Borrower. As used in this Section
18, AInterest in the Property@ means any legal or beneficial interest in the Property, including,.
but not limited to, those beneficial interests transferred in a bond f_`or deed, contract for deed,
installment sales contract or escrow agreement, the intent of which is the transfer of title by
Borrower at a future date to a purchaser. _

g lf all or any part of the Property or any Interest in the Property is sold or transferred (or if

without Lender=s prior written consent, Lender may require immediate payment in,full of all
sums secured by this Security lnstrument. However, this option shall not be exercised by Lender
if such exercise is prohibited by Applicable Law.

_ It` Lender exercises this option,_Lcndcr shall give Borrower notice of acceleration The
notice shall provide a period of not less than thirty (30) days from the date thc notice is given in
accordance with Section li$ within which Borrower must pay all sums secured by this Security
Instrument. IfBorrnwer fails to pay these sums prior to the expiration of this period, Lender may

invoke any remedies permitted by this Security Ins|rument without further notice or demand on
Borrower. l

PA GARE GARANTIz»wo UNIFOM
Es're Pagaré e.r nn insirnmemo ring”orme con algnnas aireracinnes en aiguna.rjnr:`sdieciones. Ade.=nds de las

Traspaso de la ll’rapiedad o de un Interés Beneficlario del Deudor. Segzin se uli/iza en esla Seccio'n
18, Almerés en la Prapiedad@ signifca rodo interés propielario o beneficiorio en la Propiedad

 

 

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11.

date herewith, constituted by deed number - 63 ----- of the undersigned Notary Public.

11. HIPOTEC'A
Elpago de la deuda evidenciada par este Pagaré estd garantizado par una Hipateca de esta mismafeeha.
canstituida mediante 1a eseritura numero --------- del Notarr'a Publico infrascrito.

AFF]DAVIT NO.Z - 15 , 370 -`
T€Slimonio Nllm,_' ...............

Acknowledge_and subscribed before me by the above signatories, of the above signatories, of the personal
circumstances contained in the Mortgage Deed herein before described, whom l ATTEST, are personally known to
me.

Reconocido y suscrito ante mi par las arriba jirmantes, de las circumtanciaspersonales que se relacionan en la antes descrita
escritura de hipateca y a quienes DOYFE de conacerpersanalmente.

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inc/uyendo, pero sin Iimitarse a, aquellos in/ereses beneficiarios transferidos coma paclo conditional de
traspaso, contrato para venta, contrato de venta a plazos o acuerda de plica, cuya intencian sea el
traspasa de titqu par el Deudar a un comprador en fecha futura
Si sin el prevm consenlimiento del Prestadar se vende o traspasa lada 0 cualquier parte de la

Propiedad, o cualquier ]nterés en la Propiedad (a en casa que el Deudor na sea una persona natural se
vende a traspasa un interés propietario en el Deudar), entances el Prestadorpadrd requerir el page
complete e inmediato de tadas las cantidades aseguradas par esta Hipateca. Sin embargo, el Prestador
no ejercerd esla opcion en casa que la Ley /_iplicable la prohiba

S1' el Prestadar ejerce esta opcién, le dara aviso al Deudor de la aceleracian del vencimiento.
Conforme a la Seccién 15, el aviso proveerd un per/ado no menor de treinta (30) dias apartir de su
fecha, dentro del cual el Deudor vendra' obligado a pagar tadas las cantr'dade.s aseguradas par esta
Hipoteca. Si el Deudor dejare de pagar estas canlidades antes del vencimiento de esle periada, el
Prestadorpadrd invocar cualquier remedio perm mda par esta Hipoteca, sin mds aviso a requerimienta al
Deudor.

sECURlTY INsTRuMENT _
Payment of the indebtedness evidenced by this Note is secured by a Security lnstrtunent dated on even

IN W`[TNESS THEREOF, WE HEREBY ACKNOWLEDGE AND SIGN THIS PROMISSORY NOTE.

EN TESTMONIO DE LO CUAL RECONOCEMOS YSUSCRIB;'MOS ESTE PA GARE.

- ':"l ' /69/ /(’/ (Signatu.re) 1

'.t -\,--

l _ _ ry rohr VAzQUEz carra (Firma)
’ Borrower
_ " Deudor

    

 

 

LO.S€ b.laj-DK-L) 121 1-\,\,.1

LJuu 951-'-FnE§T15fFf5Ff5"'F11gEq!!'UF!!!"'----.---`
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Conforme a la Escritura Numero 737 de Modificacion de Hipoteca,

ALLONGE

otorgada en esta misma fecha ante el Notario suscribiente, per la

presente nota se modiflca el Pagaré suscrito por JOEL VAZQUEZ
COTTO, otorgado el dia 20 de febrero de 2010, ante el thario
Publico Roy R. Sénchez Vahamonde Dieppa:

a) la suma principal adeudada seré de $2¢1}629.58;

b) el interés anual y el pago mensual de principal e interés
seré modificado como sique:

l. De los pages l al 60, el interés seré de 2.50% anual y
el pago mensual de principal e interés seré de $796.84.

2. De los pages 61 al 72, el interés seré de 3.50% anual
y el pago mensual de principal e interés sera $921.21.

3. De los pagos 73 al 84, el interés seré de 4.50% anual
y el page mensual de principal e interés seré $l,051.89 l

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4. De los pages 85 al 96, el interés seré de 5.50% anual
y el pago mensual de principal e interés sera $1,187.86.

5. De los pages 97 al 108, el interés seré de 6.50% anual
y el paqo mensual de principal e interés seré $1,328.21.

6. De los pages 109 al 480, el interés seré de 7.125%
anual y el pago mensual de principal e interés seré $l,4l7.47.

c) La fecha del primer page de principal e interés seré el
primero (1:0) de septiembre de 2012 y La fecha del ultimo page de
principal e interés seré el primero (1ro) de agosto de 2052.

d) El pagaré antes relacionado y la hipoteca que lo garantiza,
quedan por virtud de 1a presente Escritura de Modificacién,
ampliados en la same de 35,179.53;

En San Juan, Puerto Rico, a los 31 dias del mes de julio del
ano 2012.

NOTARIO PUBLICO

 

 

 

 

 

 

 

LaS€ bild-DK-U/A/l-L,L,J L)Oc v-J_ m

ALLONGE

THIS ALLONGE IS TO BE ATTACHED TO AND MADE AN INTEGRAL PART of the following
instrument

Reference Num
Note (Pagaré)
Closing Date: Cl?;r 1,"2012

Borrowers Name: JOEL VAZQUE~COTFO
Co-Bormwers Name:
On'gina| Prim'pa| Amount: TWO HUNDRED FORTY ONE THOUSAND SIX HUNDRED TWENTY
NINE DOLU\RS AND FIFTY EIGHT CENTS
241 .ss /
Property Addrss:HACIENDA SAN JOSE
15 VILU\ CARIBEE
CAGUA$ PR 00725

PAY TO THE ORDER OF

 

WITHDUT RECOI.|RSE /
BANCO FOPU\.AR DE PUE|U’O RlCU
AS $UUBS°R VIA MERGER OF POPULAR MORTGAGE lNC.

B,:Q

Name: Frandseo Segura

Tllie: AUI'HORlZED $IGNATURE

By: w

Name: Gunlermina Rodn'guez

Tltle: AUTHORIZED SIGNATU RE

 

 

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